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10                                UNITED STATES DISTRICT COURT

11                               EASTERN DISTRICT OF CALIFORNIA

12                                    SACRAMENTO DIVISION

13

14 RALPH COLEMAN, et al.,                             Case No. 2:90-CV-00520- KJM-DB

15                 Plaintiffs,                        DECLARATION OF SECRETARY JEFF
                                                      MACOMBER IN SUPPORT OF
16          v.                                        PARTIES’ JOINT STATEMENT RE
                                                      RESPONSE TO ORDER TO SHOW
17 GAVIN NEWSOM, et al.                               CAUSE RE APPOINTMENT OF
                                                      RECEIVER
18                 Defendants.

19                                                    Judge:     Hon. Kimberly J. Mueller
20          I, Jeff Macomber, declare as follows:
21          1.     I am Secretary of the California Department of Corrections and Rehabilitation
22 (CDCR), a position I have held since December 12, 2022. My career at CDCR has spanned over

23 three decades, beginning as a correctional officer in 1993. Prior to becoming Secretary of CDCR,

24 I served as Undersecretary of Operations from 2020 to 2022. I have served in various leadership

25 roles at CDCR Headquarters from 1994 to 2004, and then in leadership capacities, including as

26 Warden at California State Prison, Sacramento, prior to becoming Undersecretary of Operations. I

27 submit this declaration in support of the Parties’ Joint Response to the Order to Show Cause re

28 Appointment of Receiver.

                                              1                Case No. 2:90-CV-00520- KJM-DB
     DECL. MACOMBER SUPP. JOINT RESPONSE TO OSC RE APPOINTMENT OF RECEIVER
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 1          2.     Mr. Kelso’s appointment as Receiver over CDCR’s Mental Health Care Services

 2 Delivery System (MHSDS) would create efficiencies as medical and mental health patients are not

 3 distinct—there is just one system and one set of patients. It would also present a unique

 4 opportunity to better coordinate the care that is delivered to CDCR patients and reduce the

 5 potential for confusion, inconsistencies, and inefficiencies. I believe Mr. Kelso’s appointment

 6 would likely bring about a quicker resolution to this case.

 7          3.     Given Mr. Kelso’s proven track record of success, the infrastructure and

 8 institutional knowledge he would bring to this new role, and the relationships Mr. Kelso has built

 9 within and across State agencies over his many years in State service, I strongly support his

10 appointment as Coleman Receiver.

11          I declare under penalty of perjury under the laws of the United States of America that the

12 foregoing is true and correct.

13          Executed this 2nd day of August in Homewood, California.

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15                                                    /s/ Jeff Macomber
                                                      Jeff Macomber
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                                              2                Case No. 2:90-CV-00520- KJM-DB
     DECL. MACOMBER SUPP. JOINT RESPONSE TO OSC RE APPOINTMENT OF RECEIVER
